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                 EXHIBIT H
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          From:                   Dustin Owen <dowen@waterstonemortgage.com>
          Sent:                   3/5/2022 5:21:53 PM -0600
          To:                     Chris Wolf <cwolf011@gmail.com>
          Subject:                Re: Re: Next steps and timeline
          In regards to a timeline, I am thinking we would want to plan out at least 2 to 3 weeks if
          possible. We would work it very similar to how we work a purchase closing. We would pick a
          start date and then work backwards from there creating a timeline for when we needed to
          achieve certain milestones.
          In the beginning we will need to knock out employment applications and background
          checks. Then we can move on to generating offer letters. We then would want to start
          creating your database by transferring as much over as possible. We would need to start
          solving for any IT equipment such as laptops, copiers, phone system. We???d wanna get
          the lease executed so that we could have the HUD ID up and running on day one. We want
          to start collecting headshot and bio???s on as many of your associates as possible so that
          we can get that over to the marketing department for their website.

          Additionally, we???d want to determine are you going to try to send over a small team a
          week to 10 days early to get on board at first and up and running or are you going to just
          rip the Band-Aid off and dive in headfirst.
          The good news is that we have a powerful team who is very experienced with onboarding
          so I am confident that when we put our heads together we are going to be able to come up
          with a plan and execute it with a high degree of success.

          Regional Vice President
          NMLS #322926
          Waterstone Mortgage Corp.
          Host of The Loan Officer Podcast
          Sent from my iPhone
          From: Chris Wolf <cwolf011@gmail.com>
          Sent: Saturday, March 5, 2022 5:46:27 PM
          To: Dustin Owen <dowen@waterstonemortgage.com>
          Subject: Next steps and timeline


          EXTERNAL EMAIL: Use Caution!


          Hey Dustin!
          I believe Chris Smith has a meeting next week to go over the pro forma, and if all goes well
          we can move forward. I wanted to get an idea of a timeline from you. When the process
          would start, what the stages would be, and what the overall time frame would be for the
          move.
          Thanks!
          Chris Wolf




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